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                                                                                 U.S. DISTRICT COURT
                                                                             NORTHERN DISTRICT OF TEXAS

                        IN THE UNITED STATES DISTRICT CO                 T
                                                                                      FILED
                        FOR THE NORTHERN DISTRICT OF TE                  S
                                FORT WORTH DNISION                                  OCT     I 2012
                                                                             CLERK, U.S. DISTRICT COURT
                                                                              By _ _-:::-              _
UNITED STATES OF AMERICA                         §
                                                                                      Deputy
                                                 §
VS.                                              §        CRIMINAL NO. 4:12-CR-191-Y
                                                 §
DERREK STEVEN KATES (1)                          §
                                                 §

             REPORT OF ACTION AND RECOMMENDATION ON PLEA
              BEFORE THE UNITED STATES MAGISTRATE JUDGE

       This Report ofAction on Plea is submitted to the court pursuant to 28 U.S.C. § 636(b)(3).

This case has been referred by the United States district judge to the undersigned for the taking of

a guilty plea. The parties have consented to appear before a United States magistrate judge for

these purposes.

       The defendant appeared with counsel before the undersigned United States magistrate

judge who addressed the defendant personally in open court and informed the defendant of, and

determined that the defendant understood, the admonitions contained in Rule 11 of the Federal

Rules of Criminal Procedure.

       The defendant pled guilty to count one of the one-count indictment charging defendant

withtheviolationof21 U.S.C. §§ 846 & 841 (a)(1) & (b)(I)(B). The undersigned magistratejudge

finds the following:

        1. The defendant, upon advice of counsel, has consented orally and in writing to
        enter this guilty plea before a magistrate judge subject to final approval and
        sentencing by the presiding district judge;

        2. The defendant fully understands the nature ofthe charges and penalties;
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       3. The defendant understands all constitutional and statutory rights and wishes to waive
       these rights, including the right to a trial by jury and the right to appear before a United
       States district judge;

       4. The defendant's plea is made freely and voluntarily;

       5. The defendant is competent to enter this plea of guilty;

       6. There is a factual basis for this plea; and

       7. The ends ofjustice are served by acceptance of the defendant's plea of guilty.

       Although I have conducted these proceedings, accepted the defendant's plea ofguilty, and

pronounced the defendant guilty in open court, upon the defendant's consent and the referral from

the United States district judge, that judge has the power to review my actions in this proceeding

and possesses final decision making authority. Thus, if the defendant has any objections to the

findings or any other action ofthe undersigned he should make those known to the United States

district judge within fourteen days of today.

       I recommend that defendant's plea ofguiltybe accepted and that the defendant be adjudged

guilty by the United States district judge and that sentence be imposed accordingly.

       Signed October 31,2012.



                                                             . CURETON
                                                         ~~~TATES MAGISTRATE JUDGE


cw
